                      Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 1 of 37

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/16
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Parker Drilling Management Services, Ltd.


                                                 Parker Drilling Management Services, Inc.; Parker Drilling Management Services, Ltd. Co.;
2. All other names debtor used                   Parker Drilling Management Services, Ltd. LLC
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          5 Greenway Plaza
                                          Number            Street                                    Number         Street

                                          Suite 100
                                                                                                      P.O. Box
                                          Houston, Texas 77046
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Harris
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.parkerdrilling.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
                      Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 2 of 37
Debtor            Parker Drilling Management Services, Ltd.                         Case number (if known)
           Name



                                             A. Check One:
7.   Describe debtor’s business
                                             ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                             ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                             ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                             ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                             ☐ Commodity Broker (as defined in sss U.S.C. § 101(6))

                                             ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                             ☒ None of the above

                                             B. Check all that apply:
                                             ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                             ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                § 80a-3)
                                             ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             2111 (Oil and Gas Extraction)

8. Under which chapter of the                Check One:
   Bankruptcy Code is the
   debtor filing?                            ☐ Chapter 7

                                             ☐ Chapter 9

                                             ☒ Chapter 11. Check all that apply:

                                                               ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                 insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                 4/01/19 and every 3 years after that).
                                                               ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                 debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                 of operations, cash-flow statement, and federal income tax return, or if all of these
                                                                 documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                               ☒ A plan is being filed with this petition.

                                                               ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).
                                                               ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                 Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                               ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No
   filed by or against the debtor       ☐ Yes.      District                           When                      Case number
   within the last 8 years?                                                                     MM/DD/YYYY
     If more than 2 cases, attach a                 District                           When                      Case number
     separate list.                                                                             MM/DD/YYYY

10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                   Relationship     Affiliate
                                                    Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                        District    Southern District of Texas
     List all cases. If more than 1,                                                                             When             12/12/2018
     attach a separate list.                       Case number, if known _______________________                                  MM / DD / YYYY



     Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 3 of 37
    Debtor           Parker Drilling Management Services, Ltd.                         Case number (if known)
              Name



    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☐    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                           assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.      Insurance agency

                                                                 Contact name
                                                                 Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of               ☐     1-49                       ☒     1,000-5,000                        ☐    25,001-50,000
        creditors                         ☐     50-99                      ☐     5,001-10,000                       ☐    50,001-100,000
                                          ☐     100-199                    ☐     10,001-25,000                      ☐    More than 100,000
                                          ☐     200-999



    15. Estimated assets1                 ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐   $500,000,001-$1 billion
                                          ☐     $50,001-$100,000           ☒     $10,000,001-$50 million             ☐   $1,000,000,001-$10 billion
                                          ☐     $100,001-$500,000          ☐     $50,000,001-$100 million            ☐   $10,000,000,001-$50 billion
                                          ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐   More than $50 billion


1
       Estimated assets reflect the latest available, unaudited information and are based on the Debtor’s book values. For additional information
       regarding the value of the Debtors’ assets, please refer to Exhibit G to the Disclosure Statement for the Joint Chapter 11 Plan of Reorganization of
       Parker Drilling Company and its Debtors Affiliates, filed contemporaneously herewith.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                    Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 4 of 37
Debtor           Parker Drilling Management Services, Ltd.                           Case number (if known)
          Name




16. Estimated liabilities            ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☒   $500,000,001-$1 billion
                                     ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                     ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                     ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                   Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on            12/12/2018
                                                              MM/ DD / YYYY


                                              /s/ John Edward Menger                                             John Edward Menger
                                              Signature of authorized representative of debtor                Printed name

                                              Title    Authorized Signatory




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                       Date        12/12/2018
                                              Signature of attorney for debtor                                           MM/ DD/YYYY



                                              Matthew D. Cavenaugh
                                              Printed name
                                              Jackson Walker L.L.P.
                                              Firm name
                                              1401 McKinney Street, Suite 1900
                                              Number                 Street
                                              Houston                                                                Texas             77010
                                              City                                                                   State               ZIP Code
                                              (713) 752-4200                                                         mcavenaugh@jw.com
                                              Contact phone                                                             Email address
                                              24062656                                            Texas
                                              Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
                  Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 5 of 37



      Fill in this information to identify the case:


 United States Bankruptcy Court for the:
                            Southern District of Texas
                                          (State)                                                    ☐ Check if this is an
 Case number (if known):                                 Chapter   11                                    amended filing


                                                      Rider 1
                       Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Parker Drilling Company.

 •   Parker Drilling Company
 •   2M-TEK, Inc.
 •   Anachoreta, Inc.
 •   Pardril, Inc.
 •   Parker Aviation Inc.
 •   Parker Drilling Arctic Operating, LLC
 •   Parker Drilling Company of Niger
 •   Parker Drilling Company North America, Inc.
 •   Parker Drilling Company of Oklahoma,
     Incorporated
 •   Parker Drilling Company of South America, Inc.
 •   Parker Drilling Management Services, Ltd.
 •   Parker Drilling Offshore Company, LLC
 •   Parker Drilling Offshore USA, L.L.C.
 •   Parker North America Operations, LLC
 •   Parker Technology, Inc.
 •   Parker Technology, L.L.C.
 •   Parker Tools, LLC
 •   Parker-VSE, LLC
 •   Quail USA, LLC
 •   Quail Tools, L.P.
             Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 6 of 37



                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    PARKER DRILLING MANAGEMENT                                      )      Case No. 18-___________(___)
    SERVICES, LTD.,                                                 )
                                                                    )
                                 Debtor.                            )
                                                                    )

                                         LIST OF EQUITY SECURITY HOLDERS2

             Debtor                      Equity Holders                  Address of Equity Holder               Percentage of
                                                                                                                 Equity Held
    Parker Drilling
                                    Parker North America                5 Greenway Plaza, Suite 100
    Management Services,                                                                                              100%
                                    Operations, LLC                     Houston, TX 77046
    Ltd.




2
       This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy
       Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
          Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 7 of 37



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 PARKER DRILLING MANAGEMENT                           )    Case No. 18-______(___)
 SERVICES, LTD.,                                      )
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                            Approximate Percentage of Shares Held

     Parker North America Operations, LLC                                        100%
                             Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 8 of 37



              Fill in this information to identify the case:

              Debtor name        Parker Drilling Company, et al.

              United States Bankruptcy Court for the:     Southern District of Texas                                                    �           Check if this is an
              Case number (If known):                                                         (State)                                               amended filing




            Official Form 204
            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
            Unsecured Claims and Are Not Insiders 1                                                                                                                12/15

           A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
           debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
           claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
           holders of the 50 largest unsecured claims.

                                                                                                                                            Amount of claim
                                                                                          Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                            unsecured claim amount. If claim is partially
                                                                                           (for example,      Indicate if       secured, fill in total claim amount and
                                                           Name, telephone number and       trade debts,       claim is     deduction for value of collateral or setoff to
      Name of creditor and complete mailing
                                                             email address of creditor      bank loans,      contingent,              calculate unsecured claim.
          address, including zip code
                                                                     contact                professional    unliquidated,
                                                                                           services, and     or disputed      Total      Deduction
                                                                                            government                      claim, if   for value of        Unsecured
                                                                                             contracts)                     partially    collateral           Claim
                                                                                                                            secured      or setoff 2

    The Bank of New York Mellon Trust Company,            William Wallace                  Senior Notes                                                    $585,000,000 3
    N.A., as Indentured Trustee                           EMAIL -                          Due 2020 &
    ATTN: William Wallace                                 William.L.Wallace@bnymellon.c       2022
1   Client Service Manager                                om
    600 Travis Street, 16th Floor                         PHONE - (713) 483-6025
    Houston, TX 77002                                     FAX - (713) 483-6954
    United States
    National Oilwell Varco, Inc.                          Graham Dey                      Trade Payable                                                   $2,179,673.88
    ATTN: Graham Dey                                      EMAIL - graham.dey@nov.com
    Vice President of Sales                               PHONE - 713-346-7936
2
    10353 Richmond Ave.                                   FAX -
    Houston, TX 77042
    United States
    Hi-Tech Tubular Service                               David Lesseigne                 Trade Payable                                                    $749,487.41
    ATTN: David Lesseigne                                 EMAIL -
    President                                             PHONE - 337-369-7358
3
    1608 Highway 90 East                                  FAX - 337-369-7371
    New Iberia, LA 70560
    United States



       1
              The Joint Chapter 11 Plan of Reorganization of Parker Drilling Company and its Debtor Affiliates and the first day motions
              propose to pay in full or otherwise leave unimpaired all non-funded debt unsecured creditors.

       2
              The Debtors reserve the right to assert setoff and other rights with respect to any of the claims listed herein.

       3
              Parker Drilling Company (“Parker” or the “Company”) has issued and outstanding $225.0 million aggregate principal
              amount of 7.50% senior notes due August 2020 (the “2020 Notes”), and $360 million aggregate principal amount of
              6.75% senior notes due July 2022 (the “2022 Notes, and collectively with the 2020 Notes, the “Unsecured Notes”).
                           Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 9 of 37



                                                                                                                              Amount of claim
                                                                              Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                unsecured claim amount. If claim is partially
                                                                               (for example,      Indicate if       secured, fill in total claim amount and
                                                Name, telephone number and      trade debts,       claim is     deduction for value of collateral or setoff to
        Name of creditor and complete mailing
                                                  email address of creditor     bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                          contact               professional    unliquidated,
                                                                               services, and     or disputed      Total      Deduction
                                                                                government                      claim, if   for value of        Unsecured
                                                                                 contracts)                     partially    collateral           Claim
                                                                                                                secured       or setoff

     Cameron International (A Schlumberger      Paal Kibsgaard                Trade Payable                                                      $388,824.44
     Company)                                   EMAIL -
     ATTN: Paal Kibsgaard                       PHONE - 713-513-3300
     Chief Executive Officer and Chairman       FAX - 713-513-3320
4
     1333 West Loop South
     Suite 1700
     Houston, TX 77027
     United States
     MHWirth                                    Roy Dyrseth                   Trade Payable                                                      $353,862.18
     ATTN: Roy Dyrseth                          EMAIL -
     President                                  PHONE - 281-371-2424
5
     28377 FM 529                               FAX - 281-371-2426
     Katy, TX 77493
     United States
     General Sheet Metal                        Carol Duncan                  Trade Payable                                                    $314,053.70
     ATTN: Carol Duncan                         EMAIL -
     President                                  PHONE - 503-650-0405
6    16345 SE Evelyn                            FAX - 503-650-1058
     P.O. Box 1490
     Clackamas, OR 97015
     United States
     IOS Holdings, Inc.                         Chad Henninger                Trade Payable                                                    $259,256.00
     ATTN: Chad Henninger                       EMAIL -
     Regional Manager                           PHONE - 304-777-2577
7
     900 Heavy Haul Road                        FAX - 304-777-2574
     Morgantown, WV 26508
     United States
     Specialties Co Copper State                Wayne Love                    Trade Payable                                                    $246,935.50
     ATTN: Wayne Love                           EMAIL -
     Vice President                             wlove@copperstaterubber.com
8
     4874 South Warner Dr.                      PHONE - 623-334-7860
     Apache Junction, AZ 85120                  FAX -
     United States
     A & P Trucking, Heavy Hauling, & Rigging   Paul Panson                   Trade Payable                                                    $241,745.50
     ATTN: Paul Panson                          EMAIL -
     President                                  paulaptrucking@aol.com
9
     629 Fairchance Road                        PHONE - 304-594-9302
     Morgantown, WV 26508                       FAX -
     United States
     Enertex International Inc                  Jon Rauch                     Trade Payable                                                    $240,193.00
     ATTN: Jon Rauch                            EMAIL -
     President                                  PHONE - 713-263-8222
10
     710 Post Oak Rd. #400                      FAX - 713-263-8555
     Houston, TX 77024
     United States
                         Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 10 of 37



                                                                                                                                  Amount of claim
                                                                                  Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                   (for example,      Indicate if       secured, fill in total claim amount and
                                                  Name, telephone number and        trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                    email address of creditor       bank loans,      contingent,              calculate unsecured claim.
           address, including zip code
                                                            contact                 professional    unliquidated,
                                                                                   services, and     or disputed      Total      Deduction
                                                                                    government                      claim, if   for value of        Unsecured
                                                                                     contracts)                     partially    collateral           Claim
                                                                                                                    secured       or setoff

     U.S. Environmental Protection Agency (EPA)   Cheryl Seager                   Reimbursement      Contingent                                          At least
     ATTN: Cheryl Seager                          EMAIL - seager.cheryl@epa.gov   of Remediation         &                                          $240,000.00 4
     Director of the Compliance Assurance and     PHONE - 214-665-3114                 Costs        Unliquidated
     Enforcement Division                         FAX -
11   Region 6
     Fountain Place
     1445 Ross Ave.
     Dallas, TX 75202-2750
     United States
     Fairmont Tools Inc.                          Nathan S. Kincaid               Trade Payable                                                    $210,746.56
     ATTN: Nathan S. Kincaid                      EMAIL -
     President                                    PHONE - 304-363-8339
12   283 Van Kirk Drive                           FAX - 304-534-5314
     Marion Co. Industrial Park
     Fairmont, WV 26554
     United States
     CD Lyon Construction Inc                     Christopher D. Lyon             Trade Payable                                                    $206,368.84
     ATTN: Christopher D. Lyon                    EMAIL -
     Chief Executive Officer                      PHONE - 805-653-0173
13
     380 Stanley Avenue                           FAX - 805-653-0175
     Ventura, CA 93001
     United States
     Charter Supply Company                       Jesse Moore                     Trade Payable                                                    $184,636.25
     ATTN: Jesse Moore                            EMAIL -
     President                                    PHONE - 337-837-2724
14
     8100 Ambassador Caffery Pkwy                 FAX - 337-837-6049
     Broussard, LA 70518
     United States
     American Alloy Steel                         Arthur Moore                    Trade Payable                                                    $183,667.00
     ATTN: Arthur Moore                           EMAIL -
     President and Chief Executive Officer        PHONE - 713-462-8081
15
     6230 North Houston Rosslyn Road              FAX - 713-462-0527
     Houston, TX 77091
     United States
     DNOW LP                                      Helen Washington                Trade Payable                                                    $162,774.43
     ATTN: Helen Washington                       EMAIL -
     Sales Representative                         helen.washington@dnow.com
16
     7402 North Eldridge Parkway                  PHONE - 281-823-4483
     Houston 77041                                FAX -
     United States
     Smith International Inc                      Khaled Al Mogharbel             Trade Payable                                                    $118,344.89
     ATTN: Khaled Al Mogharbel                    EMAIL -
     President                                    PHONE - 281-443-3370
17
     1310 Rankin Road                             FAX - 281-233-5996
     Houston, TX 77073
     United States




        4
             The full amount to be paid is uncertain as the Debtors are unaware of future monitoring and remediation costs to be
             incurred by the EPA. Notwithstanding the foregoing, the Debtors are certain that it will pay at least 20% of the $1.2
             million settlement for past costs incurred by the EPA.
                        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 11 of 37



                                                                                                                                Amount of claim
                                                                                Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if       secured, fill in total claim amount and
                                                Name, telephone number and        trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                  email address of creditor       bank loans,      contingent,              calculate unsecured claim.
           address, including zip code
                                                          contact                 professional    unliquidated,
                                                                                 services, and     or disputed      Total      Deduction
                                                                                  government                      claim, if   for value of        Unsecured
                                                                                   contracts)                     partially    collateral           Claim
                                                                                                                  secured       or setoff

     Ramey Martin Energy Tools                  Jake Ramey                      Trade Payable                                                    $113,515.44
     ATTN: Jake Ramey                           EMAIL -
     President                                  PHONE - 337-367-7497
18
     910 Coteau Road                            FAX - 337-364-5944
     New Iberia, LA 70560
     United States
     Ram Winch Hoist Ltd                        Jim Keppel                      Trade Payable                                                    $103,195.57
     ATTN: Jim Keppel                           EMAIL -
     Owner                                      PHONE - 281-999-8665
19
     14603 Chrisman                             FAX - 281-999-8666
     Houston, TX 77039
     United States
     CRG Electric Inc                           Kent Elenburg                   Trade Payable                                                    $101,933.96
     ATTN: Kent Elenburg                        EMAIL -
     Purchasing Manager                         kelenburg@crgelectric.com
20
     2056 N. FM 1936                            PHONE - 432-381-2493
     Odessa, TX 79769                           FAX -
     United States
     HMI Elements Limited                       Howard Gould                    Trade Payable                                                     $99,544.50
     ATTN: Howard Gould                         EMAIL -
     Director                                   PHONE - 44 (0) 1653 699 908
21   10900 Brittmoore Park Drive                FAX - 44 (0) 1653 699 904
     Suite I
     Houston, TX 77041
     United States
     Weatherford Products Gmbh (Dubai Branch)   Jim Vogt                        Trade Payable                                                     $86,750.78
     ATTN: Jim Vogt                             EMAIL -
     Global Director of Capital Sales           jim.vogt@weatherford.com
22
     2000 St. James Place                       PHONE - 713-836-4408
     Houston 77056                              FAX -
     United States
     Rexel Inc                                  Carleton Williams               Trade Payable                                                     $81,954.20
     ATTN: Carleton Williams                    EMAIL -
     Industrial Branch Manager                  Carleton.Williams@rexelusa.co
23
     14951 Dallas Parkway                       m
     Dallas 75254                               PHONE - 713-316-1740
     United States                              FAX -
     Keystone Energy Tools, LLC                 Joe Ramey                       Trade Payable                                                     $79,485.12
     ATTN: Joe Ramey                            EMAIL -
     President                                  joe.ramey@keystoneenergytool
24
     8404 Highway 90 West                       s.com
     New Iberia, LA 70560                       PHONE - 337-365-4411
     United States                              FAX - 337-365-4456
     Acme Truck Line Inc                        Mike Coatney                    Trade Payable                                                     $79,428.90
     ATTN: Mike Coatney                         EMAIL -
     President                                  mike.coatney@acmetruck.com
25
     200 Westbank Expy                          PHONE - 504-368-2510
     Gretna, LA 70053                           FAX -
     United States
                        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 12 of 37



                                                                                                                              Amount of claim
                                                                              Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                unsecured claim amount. If claim is partially
                                                                               (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and       trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor      bank loans,      contingent,              calculate unsecured claim.
           address, including zip code
                                                         contact                professional    unliquidated,
                                                                               services, and     or disputed      Total      Deduction
                                                                                government                      claim, if   for value of        Unsecured
                                                                                 contracts)                     partially    collateral           Claim
                                                                                                                secured       or setoff

     Broadleaf Group LLC                       Nikki Walley                   Trade Payable                                                     $78,034.35
     ATTN: Nikki Walley                        EMAIL -
     Enterprise Account Manager                nwalley@broadleafgroup.com
26   13100 Wortham Drive                       PHONE - 832-295-7202
     Suite 150                                 FAX -
     Houston, TX 77065
     United States
     Patterson Rental Tools                    Len Denson                     Trade Payable                                                     $76,190.35
     ATTN: Len Denson                          EMAIL -
     VP, General Manager                       PHONE - 281-396-1000
27
     2828 Technology Forest Blvd               FAX - 281-396-1903
     Woodlands, TX 77381
     United States
     Bailey's Catering LLC                     Ema Haq                        Trade Payable                                                     $74,660.09
     ATTN: Ema Haq                             EMAIL - emahaq@bellsouth.net
     President                                 PHONE - 337-406-8746
28
     3639 Ambassador Caffery Pkwy              FAX -
     Lafayette, LA 70503
     United States
     Forum US Inc                              Lenora McMahon                 Trade Payable                                                     $73,600.50
     ATTN: Lenora McMahon                      EMAIL -
     Credit Analyst                            PHONE - 281-949-2500
29   920 Memorial City Way                     FAX - 281-949-2554
     Suite 1000
     Houston, TX 77024
     United States
     ZECO Engineering LLC D/B/A Zimmerman      Bryce Witko                    Trade Payable                                                     $71,601.85
     Equipment Company                         EMAIL -
     ATTN: Bryce Witko                         PHONE - 435-781-0454
30   Chief Executive Officer                   FAX - 435-789-0255
     275 South 800 E
     Vernal, UT 84078
     United States
     Joy Recycling LLC                         Denzil Metheny                 Trade Payable                                                     $69,247.40
     ATTN: Denzil Metheny                      EMAIL -
     Owner                                     PHONE - 304-698-6324
31
     18562 Veterans Memorial Hwy               FAX - 304-329-0333
     Kingwood, WV 26537
     United States
     Brady Trucking, Inc.                      Charles Johnson                Trade Payable                                                     $69,078.50
     ATTN: Charles Johnson                     EMAIL -
     Chief Executive Officer and President     PHONE - 435-781-1569
32
     5130 S 5400 E                             FAX - 435-781-8204
     Vernal, UT 84078
     United States
     Global Manufacturing, Inc.                Kathy Klipstein                Trade Payable                                                     $66,758.91
     ATTN: Kathy Klipstein                     EMAIL -
     Chief Executive Officer                   PHONE - 337-237-1727
33
     118 Nova Dr.                              FAX - 337-232-9353
     Broussard, LA 70518
     United States
                          Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 13 of 37



                                                                                                                                Amount of claim
                                                                                Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                  unsecured claim amount. If claim is partially
                                                                                 (for example,      Indicate if       secured, fill in total claim amount and
                                                 Name, telephone number and       trade debts,       claim is     deduction for value of collateral or setoff to
        Name of creditor and complete mailing
                                                   email address of creditor      bank loans,      contingent,              calculate unsecured claim.
            address, including zip code
                                                           contact                professional    unliquidated,
                                                                                 services, and     or disputed      Total      Deduction
                                                                                  government                      claim, if   for value of        Unsecured
                                                                                   contracts)                     partially    collateral           Claim
                                                                                                                  secured       or setoff

     Control Flow, Inc.                          Bill Laird                     Trade Payable                                                     $65,775.54
     ATTN: Bill Laird                            EMAIL -
     Chief Executive Officer and President       PHONE - 281-890-8300
34   9201 Fairbanks N. Houston Road              FAX - 281-890-3947
     P.O. Box 40788
     Houston, TX 77240-0788
     United States
     CP Machine, Inc.                            Cameron Philabaum              Trade Payable                                                     $65,425.00
     ATTN: Cameron Philabaum                     EMAIL - cameronp@cp-
     Owner                                       machineinc.com
35
     5229 - 142nd Drive NW                       PHONE - 701-570-8826
     Williston, ND 58801                         FAX -
     United States
     UV Logistics, LLC                           Colby Domingue                 Trade Payable                                                     $65,165.27
     ATTN: Colby Domingue                        EMAIL -
     Chief Executive Officer                     PHONE - 337-291-6700
36   4021 Ambassador Caffery Pkwy                FAX - 337-837-1037
     Suite 200, Building A
     Lafayette, LA 70503
     United States
     Mustang Cat                                 Christina Alba                 Trade Payable                                                     $62,229.06
     ATTN: Christina Alba                        EMAIL - calba@mustangcat.com
     Sales Manager                               PHONE - 713-460-7265
37
     12800 Northwest Freeway                     FAX -
     Houston, TX 77040
     United States
     Sunbelt Supply Company                      Scott Jackson                  Trade Payable                                                     $53,814.85
     ATTN: Scott Jackson                         EMAIL -
     Vice President                              PHONE - 713-672-2222
38
     8363 Market Street                          FAX - 713-672-2725
     Houston, TX 77029
     United States
     Gaffney-Kroese Supply Corp.                 Jack Kroese                    Trade Payable                                                     $53,496.82
     ATTN: Jack Kroese                           EMAIL -
     Owner                                       PHONE - 732-885-9000
39
     50 Randolph Road                            FAX - 732-885-9555
     Somerset, NJ 08873
     United States
     Jet Lube, Inc.                              Greg Havelka                   Trade Payable                                                     $52,176.82
     ATTN: Greg Havelka                          EMAIL -
     Chief Executive Officer and President       PHONE - 713-670-5700
40
     930 Whitmore Drive                          FAX - 713-678-4604
     Rockwall, TX 75087
     United States
     W. L. Flowers Machine & Welding Co., Inc.   Aj Flowers                     Trade Payable                                                     $50,606.40
     ATTN: Aj Flowers                            EMAIL -
     President                                   ajflowers@wlflowersmachinesh
41
     2585 S. Federal Hwy 281                     op.com
     Alice, TX 78332                             PHONE - 361-664-6527
     United States                               FAX - 361-664-8858
                          Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 14 of 37



                                                                                                                                      Amount of claim
                                                                                      Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                        unsecured claim amount. If claim is partially
                                                                                       (for example,      Indicate if       secured, fill in total claim amount and
                                                    Name, telephone number and          trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                      email address of creditor         bank loans,      contingent,              calculate unsecured claim.
           address, including zip code
                                                              contact                   professional    unliquidated,
                                                                                       services, and     or disputed      Total      Deduction
                                                                                        government                      claim, if   for value of        Unsecured
                                                                                         contracts)                     partially    collateral           Claim
                                                                                                                        secured       or setoff

     Gerald Robichaux, Jr., Loren Robichaux, and                                         Litigation                                                    $50,000.00 5
     Mona Robichaux                                 EMAIL -                             Settlement
     C/O Smith Stag, L.L.C.                         PHONE - (504) 593-9600
     ATTN: Michael G. Stag and/or Kevin D. Micale   FAX - (504) 593-9601
42
     One Canal Place
     365 Canal St, Suite 2850
     New Orleans, LA 70130
     United States
     PLS Logistics Services, Inc.                   Gregory Burns                     Trade Payable                                                     $48,642.37
     ATTN: Gregory Burns                            EMAIL -
     Chief Executive Officer                        PHONE - 724-814-5100
43   3120 Unionville Road                           FAX - 724-814-5200
     Bldg 110
     Cranberry Township, PA 16066
     United States
     Kuukpik Arctic Services                        Terry McIntosh                    Trade Payable                                                     $47,005.65
     ATTN: Terry McIntosh                           EMAIL -
     Chief Operating Officer                        terry.mcintosh@articcatering.co
44
     582 East 36th Avenue, Suite 600                m
     Anchorage, AK 99503                            PHONE - 907-279-6220
     United States                                  FAX -
     MIE Supply, LLC                                Jeri Lynn Ragusa                  Trade Payable                                                     $46,705.85
     ATTN: Jeri Lynn Ragusa                         EMAIL - jragusa@m-
     Chief Executive Officer                        iesupply.com
45
     9 Storehouse Lane                              PHONE - 504-464-5918
     Destrehan, LA 70047                            FAX -
     United States
     Extreme Machine and Urethane LLC               Jonathan Robrie                   Trade Payable                                                     $46,192.89
     ATTN: Jonathan Robrie                          EMAIL -
     President                                      PHONE - 337-857-9090
46
     202 E Angus Drive                              FAX - 337-837-7944
     Youngsville, LA 70592
     United States
     Hi-Kalibre Equipment Ltd.                      Patrick Rabby                     Trade Payable                                                     $45,939.85
     ATTN: Patrick Rabby                            EMAIL -
     President                                      PHONE - 780-435-1111
47
     7321 - 68 Ave NW                               FAX - 780-436-5164
     Edmonton, AB T6B 3T6
     Canada
     Skillsoft                                      Charles E. Moran                  Trade Payable                                                     $45,384.94
     ATTN: Charles E. Moran                         EMAIL -
     Chief Executive Officer                        PHONE - 603-324-3000
48
     300 Innovative Way, Suite 201                  FAX - 603-324-3009
     Nashua, NH 03062
     United States




        5
             The Debtors expect that the terms of the settlement will be finalized and the sum paid upon the plaintiff’s settlement
             with other defendants to the lawsuit.
                         Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 15 of 37



                                                                                                                                  Amount of claim
                                                                                  Nature of claim                     If the claim is fully unsecured, fill in only
                                                                                                                    unsecured claim amount. If claim is partially
                                                                                   (for example,      Indicate if       secured, fill in total claim amount and
                                               Name, telephone number and           trade debts,       claim is     deduction for value of collateral or setoff to
       Name of creditor and complete mailing
                                                 email address of creditor          bank loans,      contingent,              calculate unsecured claim.
           address, including zip code
                                                         contact                    professional    unliquidated,
                                                                                   services, and     or disputed      Total      Deduction
                                                                                    government                      claim, if   for value of        Unsecured
                                                                                     contracts)                     partially    collateral           Claim
                                                                                                                    secured       or setoff

     Drilling Systems UK Ltd                   Clive Battisby                     Trade Payable                                                     $45,000.00
     ATTN: Clive Battisby                      EMAIL -
     Sales Representative                      clive.battisby@drillingsystems.c
49   5 Aviation Park West                      om
     Bournemouth International Airport         PHONE - 44-1202-582255
     Christchurch, Dorset, BH23 6EW            FAX -
     United Kingdom
     Derrick Corporation                       Mitch Derrick                      Trade Payable                                                     $44,094.71
     ATTN: Mitch Derrick                       EMAIL -
     Chief Executive Officer                   PHONE - 716-683-9010
50
     590 Duke Road                             FAX - 713-551-0798
     Buffalo, NY 14225
     United States
                Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 16 of 37



    Fill in this information to identify the case and this filing:

   Debtor Name          Parker Drilling Management Services, Ltd.

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                      List of Equity Security Holders and Corporate Ownership
            Statement


    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ John Edward Menger
                                       12/12/2018
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 John Edward Menger
                                                                                 Printed name
                                                                                 Authorized Signatory
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 17 of 37



             OMNIBUS WRITTEN CONSENT IN LIEU OF MEETINGS
           OF THE BOARDS OF DIRECTORS, BOARDS OF MANAGERS,
 SOLE MANAGERS, MEMBERS, SOLE MEMBER AND MANAGERS, LIMITED PARTNERS
                       AND GENERAL PARTNERS

                                Dated as of December 11, 2018

Effective as of the date written above, the undersigned, being all of the members of the respective
board of directors or board of managers, the general partner, or the sole member (each, the
“Governing Body”), as applicable, of each of the entities listed on Annex A attached hereto (each
a “Company” and collectively, the “Companies”) hereby take the following actions and adopt the
following resolutions by written consent (this “Consent”) pursuant to the bylaws, limited liability
company agreement, limited partnership agreement, or similar document of each respective
Company (as amended, restated, amended and restated or modified from time to time of each
Company, as applicable, the “Governing Document”), and the laws of the state of formation of
each Company as set forth next to each Company’s name on Annex A:

Appointment of Chief Restructuring Officer

WHEREAS, in the judgment of each Governing Body, it is desirable and in the best interests of
each Company that the Company appoint a Chief Restructuring Officer; and

WHEREAS, in the judgment of each Governing Body, in recognition of his work in connection
with Project Drake, it is desirable and in the best interests of each Company that John Edward
Menger is appointed to the role of Chief Restructuring Officer.

NOW, THEREFORE, BE IT,

RESOLVED, that the Governing Bodies hereby create the office of Chief Restructuring Officer;

RESOLVED, that John Edward Menger is appointed to the office of Chief Restructuring Officer,
to hold such office until the earlier of his resignation or removal by the Board;

RESOLVED, that Mr. Menger shall be authorized from time to time to make decisions with respect
to certain aspects of the Company’s restructuring initiatives (the “Restructuring Decisions”),
subject to the direction of the Chief Executive Officer and the Board;

RESOLVED, that all Restructuring Decisions of Mr. Menger shall be discussed with the members
of the Company’s management team that Mr. Menger determines to be appropriate prior to
implementation of such decisions and shall be implemented by the management of the Company;
and

RESOLVED, that the appointment of Mr. Menger is hereby effective retroactively as of May 1,
2018.




                                                1
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 18 of 37



Chapter 11 Filing

WHEREAS, each Governing Body has considered presentations by each Company’s management
and the financial and legal advisors of each Company regarding the liabilities and liquidity
situation of each Company, the strategic alternatives available to it, and the effect of the foregoing
on each Company’s business; and

WHEREAS, each Governing Body has had the opportunity to consult with management and the
financial and legal advisors of the Companies and fully consider each of the strategic alternatives
available to each Company.

NOW, THEREFORE, BE IT,

RESOLVED, that in the judgment of the Governing Body, it is desirable and in the best interests
of each applicable Company (including a consideration of its creditors and other parties in interest)
that each Company shall be, and hereby is, authorized to file, or cause to be filed, voluntary
petitions for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy
Court”) and any other petition for relief or recognition or other order that may be desirable under
applicable law in the United States; and

RESOLVED, that any duly elected or appointed officer of each Company or any officer of the
general partner of each Company, as applicable (each, an “Authorized Signatory” and collectively,
the “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be,
and they hereby are, authorized, empowered, and directed to execute and file on behalf of each
Company all petitions, schedules, lists and other motions, papers, or documents, and to take any
and all action that they deem necessary or proper to obtain such relief, including, without
limitation, any action necessary to maintain the ordinary course operation of each Company’s
business.

Restructuring Documents

WHEREAS, each Governing Body has determined that it is in the best interest of each Company,
its creditors, and other parties in interest for the Governing Body to authorize the Company to
enter into that certain restructuring support agreement (the “Restructuring Support Agreement”)
by and among each Company and certain consenting stakeholders substantially in the form
presented to the Governing Body on or in advance of the date hereof;

WHEREAS, each Governing Body acknowledges and believes that the Restructuring Support
Agreement is procedurally and substantively fair to the Company as contemplated by applicable
law and the Company’s governing documents, to the extent applicable;

WHEREAS, the Governing Body of Parker Drilling Company has determined that it is in the best
interest of Parker Drilling Company, its creditors, and other parties in interest for the Governing
Body to authorize Parker Drilling Company to enter into that certain backstop commitment
agreement (the “Backstop Commitment Agreement”) by and among Parker Drilling Company and
certain commitment parties substantially in the form presented to the Governing Body on or in
advance of the date hereof and to authorize the payment of certain fees in connection therewith


                                                  2
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 19 of 37



and to prepay the Commitment Fee and estimated professional fee retainers in connection
therewith;

WHEREAS, the Governing Body of Parker Drilling Company acknowledges and believes that the
Backstop Commitment Agreement is procedurally and substantively fair to Parker Drilling
Company as contemplated by applicable law and Parker Drilling Company’s governing
documents, to the extent applicable;

WHEREAS, the Restructuring Support Agreement and Backstop Commitment Agreement
contemplate that each Company will file the joint plan of reorganization (the “Plan”) and related
disclosure statement (the “Disclosure Statement”) substantially contemporaneously with entry into
the Restructuring Support Agreement and Parker Drilling Company’s entry into the Backstop
Commitment Agreement;

WHEREAS, each Governing Body has determined that it is in the best interest of each Company,
its creditors, and other parties in interest for the Governing Body to authorize the Company to file
in a court of competent jurisdiction the Plan and Disclosure Statement substantially in the form
presented to the Governing Body on or in advance of the date hereof;

NOW, THEREFORE, BE IT,

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized to take all actions
(including, without limitation, to negotiate and execute any agreements, documents, or certificates)
necessary to enter into the Restructuring Support Agreement and the Backstop Commitment
Agreement, and to file the Plan and Disclosure Statement (collectively, the “Restructuring
Documents”), and to consummate the transactions contemplated thereby in connection with the
Chapter 11 Cases and that each Company’s performance of its obligations under the Restructuring
Support Agreement and Parker Drilling Company’s performance of its obligations under the
Backstop Commitment Agreement including, without limitation, the prepayment of the
Commitment Fee and estimated professional fee retainers in connection therewith hereby is, in all
respects, authorized and approved;

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and empowered
to enter on behalf of the Company into a restructuring transaction or series of restructuring
transactions by which the Company will restructure its debt obligations and other liabilities,
including without limitation the restructuring transactions described in the Restructuring
Documents (collectively, the “Restructuring Transactions”); and

RESOLVED, that the Authorized Signatories be, and they hereby are, authorized, directed and
empowered in the name of, and on behalf of, the Company to take any and all actions to (i) obtain
approval by a court of competent jurisdiction or any other regulatory or governmental entity of the
Restructuring Documents in connection with the Restructuring Transaction, and (ii) obtain
approval by any court of competent jurisdiction or any other regulatory or governmental entity of
any Restructuring Transactions.




                                                 3
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 20 of 37



Shareholder Rights Plan

WHEREAS, on July 12, 2018, Parker Drilling Company adopted a shareholder rights plan
(including any amendments thereto, the “Rights Plan”) to prevent any holder or group of holders
from obtaining effective control in Parker Drilling Company without paying a fair control premium
and to prevent any one shareholder from effectively blocking strategic actions that may be
beneficial to all shareholders;

WHEREAS, the Rights Plan was amended on August 23, 2018 to protect the potential future value
of Parker Drilling Company’s net operating losses, foreign tax credits, and other tax attributes,
which would have been substantially limited if Parker Drilling Company had experienced an
“ownership change” as defined in Section 382 of the Internal Revenue Code of 1986, as amended;

WHEREAS, Section 25 of the Rights Plan permits the Governing Body of Parker Drilling
Company to exempt an acquisition of common stock of Parker Drilling Company that would
otherwise result in the triggering of the Rights Plan if the Governing Body determines that the
exemption is in the best interests of Parker Drilling Company; and

WHEREAS, it is a condition to the effectiveness of the RSA that the Governing Body of Parker
Drilling Company has previously approved by resolution that the Restructuring Transactions, the
entry into the Restructuring Support Agreement and the consummation of the Restructuring
Transactions and the Plan, shall be fully exempted from the provisions of the Rights Plan and shall
have deemed the Consenting Stakeholders and their Affiliates both individually and collectively
to be each an “Exempt Person” as defined in the Rights Plan with respect to the Restructuring
Transactions contemplated under the Plan.

NOW, THEREFORE, BE IT RESOLVED, that the designation of the Consenting Stakeholders
and their Affiliates, both individually and collectively, each as an “Exempt Person” in connection
with the Restructuring Transactions, the entry into the Restructuring Support Agreement and the
consummation of the Restructuring Transactions and the Plan is in the best interests of Parker
Drilling Company;

RESOLVED, that the entry into the Restructuring Support Agreement and the consummation of
the Restructuring Transactions and the Plan are fully exempted from the provisions of the Rights
Plan; and

RESOLVED, that the Consenting Stakeholders and their Affiliates, both individually and
collectively, are each an “Exempt Person” as defined in the Rights Plan with respect to the
Restructuring Transactions contemplated under the Plan.

Retention of Professionals

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized and
directed to employ: (i) the law firm of Kirkland & Ellis LLP and Kirkland & Ellis International
LLP as general bankruptcy counsel; (ii) the law firm of Jackson Walker L.L.P. as co-bankruptcy
counsel; (iii) Moelis & Company LLC as financial advisor; (iv) Alvarez & Marsal as restructuring
advisor; (v) Prime Clerk LLC as notice and claims agent; and (vi) any other legal counsel,
accountants, financial advisors, restructuring advisors or other professionals the Authorized


                                                 4
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 21 of 37



Signatories deem necessary, appropriate or advisable; each to represent and assist each Company
in carrying out its duties under the Bankruptcy Code and any applicable law, and to take any and
all actions to advance each Company’s rights and obligations, including without limitation filing
any motions, objections, replies, applications, or pleadings; and in connection therewith, each of
the Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
(under the common seal of the Company, if appropriate) appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate applications for authority to retain
such services; and

RESOLVED, that each of the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered and directed to execute (under the common seal of the
Company, if appropriate) and file all petitions, schedules, motions, lists, applications, pleadings,
and other papers and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all further
acts and deeds that each of the Authorized Signatories in their absolute discretion deem necessary,
appropriate, or desirable in connection with these resolutions.

Debtor-in-Possession Financing

WHEREAS, reference is made to that certain Debtor-In-Possession Credit Agreement (together
with all exhibits, schedules, and annexes thereto, the “DIP Credit Agreement”) dated as of, or
about, the date hereof, by and among Parker Drilling Company, as the parent borrower (the “Parent
Borrower”), Parker Drilling Arctic Operating, LLC, Parker Drilling Offshore USA, L.L.C., and
Quail Tools, L.P., each as a designated borrower (the “Designated Borrowers ” and, together with
the Parent Borrower, the “Borrowers”) and each a debtor and debtor-in-possession under Chapter
11 of the Bankruptcy Code, Bank of America, N.A., as administrative agent (the “DIP Agent”),
the lenders from time to time party thereto (collectively, the “DIP Lenders”), and the other agents
referred to therein;

WHEREAS, the Borrowers have requested that the DIP Lenders provide a senior secured debtor-
in-possession asset-based revolving credit facility to the Borrowers;

WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the Borrowers
is subject to, among other things, each Borrower entering into the DIP Credit Agreement and the
Companies satisfying certain conditions in the DIP Credit Agreement;

WHEREAS, each Company will obtain benefits from the DIP Credit Agreement and it is advisable
and in the best interest of each Company that each Borrower enters into the DIP Credit Agreement
and performs its obligations thereunder; and

WHEREAS, each Company will obtain benefits from the other Loan Documents (as defined in
the DIP Credit Agreement, the “DIP Loan Documents”) and it is advisable and in the best interest
of each Company that each Company enter into each DIP Loan Document to which it is a party
and to perform its obligations thereunder, including granting security interests in all or
substantially all of its assets.

NOW, THEREFORE, BE IT RESOLVED, that the form, terms, and provisions of the DIP Credit
Agreement and each other DIP Loan Document, and the transactions contemplated by the DIP


                                                 5
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 22 of 37



Credit Agreement (including, without limitation, the borrowings thereunder) and each other DIP
Loan Document, the transactions contemplated therein, and the guaranties, liabilities, obligations,
security interests granted, and notes issued, if any, in connection therewith, be and hereby are
authorized, adopted, and approved;

RESOLVED, that each Company will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interest of each Company that each Borrower enters into the DIP Credit
Agreement and performs its obligations thereunder;

RESOLVED, that each Company will obtain benefits from the other DIP Loan Documents and it
is advisable and in the best interest of each Company that each Company enters into the DIP Loan
Documents to which it is a party and performs its obligations thereunder, including granting
security interests in all or substantially all of its assets;

RESOLVED, that each Company’s execution and delivery of, and its performance of its
obligations (including guarantees) in connection with the DIP Credit Agreement and the other DIP
Loan Documents, are hereby, in all respects, authorized and approved; and further resolved, that
each of the Authorized Signatories, acting alone or with one or more Authorized Signatories, is
hereby authorized, empowered, and directed to negotiate the terms of and to execute, deliver, and
perform under the DIP Credit Agreement and the other DIP Loan Documents and any and all other
documents, certificates, instruments, agreements, intercreditor agreements, any amendment, or
any other modification required to consummate the transactions contemplated by the DIP Credit
Agreement and any other DIP Loan Document in the name and on behalf of each Company, in the
form approved, with such changes therein and modifications and amendments thereto as any of
the Authorized Signatories may in his or her sole discretion approve, which approval shall be
conclusively evidenced by his or her execution thereof. Such execution by any of the Authorized
Signatories is hereby authorized to be by facsimile, engraved or printed as deemed necessary and
preferable;

RESOLVED, that the each of the Authorized Signatories, acting alone or with one or more
Authorized Signatories, be, and hereby are, authorized, empowered, and directed in the name of,
and on behalf of, each Company to seek authorization to enter into the DIP Credit Agreement and
each other DIP Loan Document and to seek approval of the use of cash collateral pursuant to a
postpetition financing order in interim and final form, and any Authorized Signatory be, and
hereby is, authorized, empowered, and directed to negotiate, execute, and deliver any and all
agreements, instruments, or documents, by or on behalf of each Company, necessary to implement
the postpetition financing, including providing for adequate protection to the Secured Lenders in
accordance with section 363 of the Bankruptcy Code, as well as any additional or further
agreements for entry into the DIP Credit Agreement and each other DIP Loan Document and the
use of cash collateral in connection with each Company’s Chapter 11 Cases, which agreements
may require each Company to grant adequate protection and liens to each Company’s Secured
Lenders and each other agreement, instrument, or document to be executed and delivered in
connection therewith, by or on behalf of each Company pursuant thereto or in connection
therewith, all with such changes therein and additions thereto as any Authorized Signatory
approves, such approval to be conclusively evidenced by the taking of such action or by the
execution and delivery thereof;



                                                 6
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 23 of 37



RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement and all other
DIP Loan Documents to which each Company is a party, (ii) the grant of security interests in,
pledges of, and liens on all or substantially all of the assets now or hereafter owned by each
Company as collateral (including pledges of equity and personal property as collateral) under the
DIP Loan Documents, (iii) the guaranty of obligations by each Company under the Loan DIP
Documents, from which each Company will derive value, be and hereby are, authorized, adopted,
and approved, and (iv) any Authorized Signatory or other officer of each Company is hereby
authorized, empowered, and directed, in the name of and on behalf of each Company, to take such
actions and negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and
cause the performance of, each of the transactions contemplated by the DIP Credit Agreement,
substantially in the form provided to each Governing Body, the DIP Loan Documents and such
other agreements, fee letters, commitment letters, certificates, instruments, receipts, petitions,
motions, or other papers or documents to which each Company is or will be a party or any order
entered into in connection with the Chapter 11 Cases (collectively with the DIP Credit Agreement,
the “Financing Documents”), incur and pay or cause to be paid all related fees and expenses, with
such changes, additions, and modifications thereto as an Authorized Signatory executing the same
shall approve;

RESOLVED, that each Company, as debtor and debtor-in-possession under the Bankruptcy Code
be, and hereby is, authorized, empowered, and directed to incur any and all obligations and to
undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens on
its assets to secure such obligations and the refinancing of the obligations outstanding pursuant to
the Existing ABL Credit Agreement;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company, as debtor and debtor-
in-possession, to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (i) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
facilitate the Financing Transactions; (ii) all petitions, schedules, lists, and other motions, papers,
or documents, which shall in its sole judgment be necessary, proper, or advisable, which
determination shall be conclusively evidenced by his/her or their execution thereof; (iii) such other
instruments, certificates, notices, assignments, and documents as may be reasonably requested by
the DIP Agent and other parties in interest; and (iv) such forms of deposit account control
agreements, officer’s certificates, and compliance certificates as may be required by the Financing
Documents;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company to file or to authorize
the DIP Agent to file any Uniform Commercial Code (“UCC”) financing statements, any other
equivalent filings, any intellectual property or real estate filings and recordings, and any necessary
assignments for security or other documents in the name of each Company that the DIP Agent
deems necessary or convenient to perfect any lien or security interest granted under the Financing
Documents, including any such UCC financing statement containing a generic description of


                                                   7
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 24 of 37



collateral, such as “all assets,” “all property now or hereafter acquired,” and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of each Company and such other
filings in respect of intellectual and other property of each Company, in each case as the DIP Agent
may reasonably request to perfect the security interests of the DIP Agent under the Financing
Documents;

RESOLVED, that each of the Authorized Signatories be, and they hereby are, authorized,
empowered, and directed in the name of, and on behalf of, each Company to take all such further
actions, including, without limitation, to pay or approve the payment of all fees and expenses
payable in connection with the Financing Transactions and all fees and expenses incurred by or on
behalf of each Company in connection with the foregoing resolutions, in accordance with the terms
of the Financing Documents, which shall in their reasonable business judgment be necessary,
proper, or advisable to perform each Company’s obligations under or in connection with the
Financing Documents or any of the Financing Transactions and to fully carry out the intent of the
foregoing resolutions;

RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized, empowered,
and directed in the name of, and on behalf of, each Company, to execute and deliver any
amendments, supplements, modifications, renewals, replacements, consolidations, substitutions,
and extensions of the postpetition financing or any of the Financing Documents or to do such other
things which shall in their sole judgment be necessary, desirable, proper, or advisable to give effect
to the foregoing resolutions, which determination shall be conclusively evidenced by his/her or
their execution thereof; and

RESOLVED, that to the extent any Company serves as the sole member, general partner,
managing member, equivalent manager, or other governing body (each, a “Controlling Company”)
of any other Company (each, a “Controlled Company”), each Authorized Signatory, as applicable,
is authorized, empowered, and directed to take each of the actions described in these resolutions
or any of the actions authorized by these resolutions on behalf of the applicable Controlling
Company.

Cancellation of ABL

WHEREAS, in connection with the Restructuring Transactions it is contemplated that the Second
Amended and Restated Credit Agreement, dated as of January 26, 2015, among certain of the
Companies, Bank of America, N.A. as Administrative Agent and L/C Issuer, Wells Fargo Bank,
National Association as Syndication Agent, Barclays Bank PLC as Documentation Agent, Merrill
Lynch Pierce, Fenner & Smith Incorporated and Wells Fargo Securities, LLC, as Joint Lead
Arrangers and Joint Bookrunners, and other lenders and L/C issuers from time to time party thereto
(the “ABL Credit Agreement”) shall be terminated prior to or shortly after the filing of the Chapter
11 Cases.

NOW, THEREFORE, BE IT RESOLVED, that each of the Authorized Signatories, acting alone
or with one or more Authorized Signatories, be, and hereby are, authorized, empowered, and
directed in the name of, and on behalf of, each Company to terminate the ABL Credit Agreement;




                                                  8
        Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 25 of 37




General

RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and they hereby are, authorized and empowered, in the name of and on behalf of each Company,
to take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver, and file any and all such agreements, certificates, instruments, and other documents and
to pay all expenses, including but not limited to filing fees, in each case as in such director’s
judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein;

RESOLVED, that the Governing Body of each Company has received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of each Company, or hereby waive any right to have
received such notice;

RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
foregoing resolutions done in the name of and on behalf of each Company, which acts would have
been approved by the foregoing resolutions except that such acts were taken before the adoption
of these resolutions, are hereby, in all respects, approved and ratified as the true acts and deeds of
each Company with the same force and effect as if each such act, transaction, agreement, or
certificate has been specifically authorized in advance by resolution of the Governing Body; and

RESOLVED, that each of the Authorized Signatories (and their designees and delegates) be, and
hereby is, authorized and empowered to take all actions or to not take any action in the name of
each Company with respect to the transactions contemplated by these resolutions hereunder, as
such Authorized Signatory shall deem necessary or desirable in such Authorized Signatory’s
reasonable business judgment to effectuate the purposes of the transactions contemplated herein.

                                              *****




                                                  9
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 26 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 27 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 28 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 29 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 30 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 31 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 32 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 33 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 34 of 37
Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 35 of 37
      Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 36 of 37



                                      Annex A

                                                      Board of Directors, Board of
                   Company                        Managers, General Partner, or Sole
                                                         Member, as applicable
1.    2M-TEK, Inc., a Louisiana corporation       Gary G. Rich
2.    ANACHORETA, INC., a Nevada corporation      Michael W. Sumruld
3.    Pardril, Inc., an Oklahoma corporation      Jennifer Simons,
4.    PARKER AVIATION INC., an Oklahoma           as the directors on each Company’s
      corporation                                 Board of Directors
5.    PARKER DRILLING COMPANY NORTH
      AMERICA, INC., a Nevada corporation
6.    PARKER DRILLING COMPANY OF NIGER, an
      Oklahoma corporation
7.    PARKER DRILLING COMPANY OF
      OKLAHOMA, INCORPORATED, an Oklahoma
      corporation
8.    PARKER DRILLING COMPANY OF SOUTH
      AMERICA, INC., an Oklahoma corporation
9.    PARKER TECHNOLOGY, INC., an Oklahoma
      corporation
10.   PARKER DRILLING ARCTIC OPERATING, LLC,      Gary G. Rich
      a Delaware limited liability company        Michael W. Sumruld
11.   PARKER DRILLING MANAGEMENT                  Jennifer Simons,
      SERVICES, LTD., a Nevada corporation        as the managers on each Company’s
12.   PARKER DRILLING OFFSHORE COMPANY,           Board of Managers
      LLC, a Nevada limited liability company
13.   PARKER DRILLING OFFSHORE USA, L.L.C., an
      Oklahoma limited liability company
14.   PARKER NORTH AMERICA OPERATIONS,
      LLC, a Nevada limited liability company

15. PARKER TECHNOLOGY, L.L.C., a Louisiana        Parker Drilling Offshore Company,
    limited liability company                     LLC (f/k/a Parker Drilling Company
                                                  Limited), as its Sole Member
16. PARKER DRILLING COMPANY, a Delaware           Gary G. Rich
    corporation                                   Jonathan M. Clarkson
                                                  Peter T. Fontana
                                                  Gary R. King
                                                  Robert L. Parker, Jr.
                                                  Richard D. Paterson
                                                  Zaki Selim,
                                                  as the directors on the Company’s
                                                  Board of Directors
17. PARKER-VSE, LLC, a Nevada limited liability   Michael W. Sumruld
    company                                       Jennifer Simons,
                                                  as the managers on the Company’s
                                                  Board of Managers




                                         A-1
   Case 18-36957 Document 1 Filed in TXSB on 12/12/18 Page 37 of 37



                                                       Board of Directors, Board of
                   Company                          Managers, General Partner, or Sole
                                                           Member, as applicable
18. PARKER DRILLING MANAGEMENT                      Parker North America Operations,
    SERVICES, LTD., a Nevada corporation            LLC, as each Company’s Sole
19. PARKER DRILLING OFFSHORE COMPANY,               Member
    LLC, a Nevada limited liability company

20. PARKER NORTH AMERICA OPERATIONS,                Parker Drilling Company, as its Sole
    LLC, a Nevada limited liability company         Member
21. PARKER TOOLS, LLC, an Oklahoma limited          Parker Drilling Offshore Company,
    liability company                               LLC (f/k/a Parker Drilling U.S.A.
                                                    Ltd.), as its Sole Member
22. QUAIL TOOLS, L.P., an Oklahoma limited          Quail USA, LLC, as its General
    partnership                                     Partner

23. QUAIL USA, LLC, an Oklahoma limited liability   Parker Drilling Offshore Company,
    company                                         LLC (f/k/a Parker Drilling Company
                                                    Limited), as its Sole Member




                                          2
